Case 2:23-cv-02000-WSS   Document 2-3   Filed 11/20/23   Page 1 of 3




                 EXHIBIT 1
  Case 2:23-cv-02000-WSS   Document 2-3    Filed 11/20/23    Page 2 of 3




Plaintiffs’ Product                          Listing of Defendant CJ Emerald
                                               Showing Infringing Design




Plaintiffs’ Product                       Listing of Defendant HOME DEPUTY
                                              Showing Infringing Design




Plaintiffs’ Product                          Listing of Defendant LiteViso
                                               Showing Infringing Design
 Case 2:23-cv-02000-WSS   Document 2-3   Filed 11/20/23    Page 3 of 3




Plaintiffs’ Product                      Listing of Defendant UFURMATE US
                                              Showing Infringing Design




Plaintiffs’ Product                        Listing of Defendant Patrick Yao
                                             Showing Infringing Design




Plaintiffs’ Product                        Listing of Defendant NEZA-US
                                             Showing Infringing Design
